

People v Atutis (2017 NY Slip Op 08751)





People v Atutis


2017 NY Slip Op 08751


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

107546

[*1]THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
vADRIAN M. ATUTIS, Appellant.

Calendar Date: October 24, 2017

Before: Garry, J.P., Egan Jr., Lynch, Mulvey and Aarons, JJ.


Philip K. Grommet, Vestal, for appellant.
Stephen K. Cornwell Jr., District Attorney, Binghamton (Stephen D. Ferri of counsel), for respondent.



MEMORANDUM AND ORDER
Appeal from a judgment of the County Court of Broome County (Smith, J.), rendered March 27, 2015, convicting defendant upon his plea of guilty of the crimes of aggravated unlicensed operation of a motor vehicle in the first degree and driving while intoxicated.
Judgment affirmed. No opinion.
Garry, J.P., Egan Jr., Lynch, Mulvey and Aarons, JJ., concur.
ORDERED that the judgment is affirmed.








